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       Name: Fernando Gastelum
   2
       Address: 209 W. 9th Street, Casa Grande, AZ 85122 Mar 17 2025
       Telephone Number: 520-560-0927
   3   Email: fernandog8899@gmail.com
                                                          s/ GloriaVocal

   4   Prose
                         IN THE UNITED STATES DISTRICT COURT
   5                       SOUTHERN DISTRICT OF CALIFORNIA
   6
                                                         Case No.:    '25CV0635 JES JLB
   7
                                                               VERIFIED COMPLAINT
   8
        FERNANDO GASTELUM,
                                                         1. Violation of the ADA
   9                                        Plaintiff,
  10                                                     2. Violation of Unruh Civil Rights Act
                             vs.
  11    IMPERIAL EPL, LLC                                3. Violation Of The Disabled Persons
                                                            Act
  12                                      Defendant.
  13                                                     4. Malice and Oppression
  14
                                                     I
  15                                              PARTIES
  16
       1. Plaintiff is a senior citizen with physical disabilities.
  17
       2. Plaintiff is missing a leg.
  18
       3. Plaintiff is an ADA Tester.
  19   4. Plaintiff lives in Casa Grande, Arizona, with his extended fami ly in this house:
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       5. Since 2015, Plaintiff has been using a wheelchair for mobility in locations that are
   2      designed for wheelchair use:

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  16
       6. Plaintiffs missing leg is a physical impairment that substantially limits one or more
  17
          major life activities like walking, reaching, pushing and other musculoskeletal
  18
          activities that are normally associated with missing lower limbs.
  19
       7. Defendant is a public accommodation who owns, operates, leases or leases to a third
  20
          party a fast food restaurant at 1403 N. Imperial Ave., El Centro, California (Store).
  21                                                 II
  22    FEDERAL QUESTION, SUPPLEMENTAL AND DIVERSITY JURISDICTION

  23   8. The Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. §
  24       1331 and§ 1343(a)(3) & (a)(4) for violations of the Americans with Disabilities Act
  25      of 1990, 42 U.S.C. § 12101, et seq.

  26   9. Plaintiff has specific intent to return to the Store when he is assured that the Store is

  27      accessible to him.

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   1   l 0. Plaintiff is otherwise deterred from conducting business at any of the Stores, or any
   2      other store owned or operated by Defendant because Defendant, as the public entity,

   3      has failed to comply with the non-discriminatory provisions of the ADA, including

   4      42 U.S.C. §12182. (b)(l)(D), 42 U.S.C. §12182 (b)(2)(A)(ii) and 42 U.S.C. § 12182

   5      (b)(2)(A)(iii), and the Unruh Civil Rights Act and the Disabled Persons Act.
       11. The Court has discretionary supplemental jurisdiction over allegations of Unruh Civil
   6
          Rights Act claim relative to architectural barriers, but, to the best of Plaintiffs
   7
          understanding, the Court has supplemental jurisdiction over non-architectural Unruh
   8
          policy violations.
   9
       12. This Court also has diversity jurisdiction pursuant to 28 U.S.C. §§ 1332 based on:
  10
          A. Plaintiff is a citizen of the state of Arizona; and
  11
          B. Defendant is a citizen of the State of California; and
  12      C. The amount in controversy, including (1) cost of compliance with injunctive
  13          relief, (2) statutory damages , (3) punitive damages, (4) loss of revenue damages,
  14          (5) attorney's fees and (6) costs all of which, to the best of Plaintiffs estimate,
  15          greatly exceed the statutory threshold of $75,000.00.
  16   13. Venue is proper in this court pursuant to 28 U.S.C. § l391(b) and is founded on the

  17      fact that the real property which is the subject of this action is located in this district

  18      and that Plaintiffs cause of action arose in this district.

  19                                           III
                                      FACTUAL ALLEGATIONS
  20
       14. On February 24, 2025, Plaintiff visited the Store and conducted business there, but
  21
          was denied full and equal access by virtue of:
  22
          A. The sales and service counter (Service Counter) was designed , constructed, and
  23
              used for a forward approach by customers, including wheelchair bound customers
  24
              like Plaintiff, but the Service Counter did not provide the knee and toe space
  25
              complying with Standards at 306 and thus violated Standards at 904.
  26
          B. The service counter provided by the Store was cluttered with merchandise and
  27          equipment and was unusable to Plaintiff as a result of his disability. This
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              condition makes Plaintiffs use of the service counter more difficult. This
   2          condition violates accessibility standards at 904.4.1.

   3       C. The bathroom door required the push-pull force greater than 5 lbs. This condition

   4          made it more difficult for Plaintiff to open the door. This condition violates

   5          accessibility standards at 309.4.2. This condition interfered with Plaintiffs full
              and equal access and use of the Store.
   6
       15. The barriers referenced above denied to Plaintiff full and equal access to the goods
   7
           and services at the Store because of his disability and the use of the wheelchair.
   8
                   Count One - Violation Of The ADA and Declaratory Judgment
   9                                (4 2 .S. C. secti on 121 0 1, et seq.)
  10
       16. Plaintiff incorporates all allegations contained elsewhere in this Verified Complaint.
  11
       17. Defendant is aware of the violations of the accessibility laws in its Store but does
  12      nothing to remediate it.
  l 3 18. Plaintiff and others similarly situated are deterred from visiting the Store because they
  14      know that they will be denied full and equal access to goods and services at the Store.
  15 19. The barriers listed above relate to Plaintiffs disability and interfere with his full and
  16      equal enjoyment of the Store because the barriers make it more difficult to Plaintiff to
  17      make use of goods and services at the Store.

  18    0. The remediation of the barriers identified above is readily achievable because the

  19      barriers identified herein are easily removed without much difficulty or expense.
          Moreover, there are numerous alternative accommodations that could be made to
  20
          provide a greater level of access if complete removal were not achievable.
  21
        1. Plaintiff intends to return to the Store referenced when he is assured that it has become
  22
          welcoming to Plaintiff and similarly situated persons with disabilities who use a
  23
          wheelchair.
  24
        2. During the time that Defendant fails to comply with the non-discriminatory provisions
  25
          of 42 U.S.C. § 12182, Plaintiff is deterred from patronizing the Store.
  26
        3. Consequently, the injury to Plaintiff is likely to re~ur as a matter of law.
  27       WHEREFORE, Plaintiff requests relief as follows:
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          A. Declaration that at the commencement of this action Defendant was in violation
   2          of the specific architectural requirements of disability laws detailed above; and
   3      B. Declaration that at the commencement of this action Defendant did not have an
   4          enforceable policies, practices, or procedures to afford goods, services, facilities,
   5          privileges, advantages, or accommodations to Plaintiff and others similarly
   6          situated in violation of 42 U.S.C. § 12 I 82.
   7      C. Order that Defendant implement enforceable policies, practices, or procedures to
   8          afford goods, services, facilities, privileges, advantages, or accommodations to
   9          Plaintiff and others similarly situated pursuant to 42 U.S.C. § 12182.
  IO      D. Order that all Defendant removes all barriers to accessibility in all its Stores; and
  ll      E. Order that Defendant remediate each and every inaccessible element in the Store;
  12          and
  13      F. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and
  14      G. For whatever other relief the Court deems just, equitable and appropriate.
  15                   Count Two - Violation Of The Unruh Civil Rights Act
                                    (Cal. Civ. Code§ 51-53.)
  16
  17   4. Plaintiff incorporates all allegations contained elsewhere in this Verified Complaint.

  18   5. The Unruh Civil Rights Act ("Unruh Act") guarantees, inter alia, that persons with

  19     disabilities are entitled to full and equal accommodations, advantages, facilities,
         privileges, or services in all business establishment of every kind whatsoever within
  20
         the jurisdiction of the State of California. Cal. Civ. Code §5 l (b ). Unruh Act also
  21
         provides that a violation of the ADA is a violation of the Unruh Act. Cal. Civ. Code,§
  22
         5 l(f).
  23
       6. Defendant's Store violated the Unruh Act by denying Plaintiffs rights to full and
  24
         equal use.
  25
       7. Defendant's violation of the Unruh Act makes Defendant responsible for statutory
  26     civil penalty. (Civ. Code§ 55.56(a)-(c).)
  27      WHEREFORE, Plaintiff requests relief as follows:
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                                                      5
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          A. Declaration that at the commencement of this action Defendant was in violation
   2          of the specific requirements of disability laws detailed above; and
   3      B. Declaration that at the commencement of this action Defendant did not have
   4          enforceable policies, practices, or procedures to afford goods, services, facilities,
   5          privileges, advantages, or accommodations to Plaintiff and others similarly
   6          situated; and
   7      C. Order that Defendant implement enforceable policies, practices, or procedures to
   8          afford goods, services, facilities, privileges, advantages, or accommodations to
   9          Plaintiff and others similarly situated; and
  10      D. Order that all Defendant removes all barriers to accessibility in all its stores; and
  11      E. Order that Defendant remediate each and every inaccessible element in the stores
  12          that are subject of this Verified Complaint; and
  13      F. For damages in an amount no less than $4,000.00 per Unruh violation per
  14          encounter as alleged above; and
  15      G. For treble damages pursuant to Cal. Civ. Code §3345(b); and
  16      H. For punitive damages as more fully alleged below; and

  17      I. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and

  18      J. For whatever other relief the Court deems just, equitable and appropriate.

  19                    Count Three - Violation Of The Disabled Persons Act
                                    (Cal. Civ. Code §§54-54.3)
  20
  21   28. Plaintiff realleges all allegations heretofore set forth.

  22   29. Defendants have violated the DPA by denying Plaintiff equal access to its public

  23      accommodation on the basis of his disability as outlined above.

  24   30. The DPA provides for monetary relief to "aggrieved persons" who suffer from

  25      discrimination on the basis of their disability.

  26   31. Plaintiff has been aggrieved by Defendant's non-compliance with accessibility laws.

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   1   32. Pursuant to the DPA, Plaintiff is further entitled to such other relief as the Court
   2      considers appropriate, including monetary damages in an amount to be proven at trial,
   3      but in no event less than $1,000.00. Cal. Civ. Code§ 54.3.
   4   33. Pursuant to the DPA, Plaintiff is entitled to costs in an amount to be proven at trial.
   5      Cal. Civ. Code§ 54.3.
   6      WHEREFORE, Plaintiff demands judgment against Defendant as follows:
   7      A. Declaratory Judgment that at the commencement of this action Defendant was in
   8          violation of the specific requirements of disability laws; and
   9      B. For damages in an amount no less than $1,000.00 per violation per encounter; and
  10      C. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and
  11      D. For punitive damages as alleged below; and
  12      E. The provision of whatever other relief the Court deems just, equitable and
  13          appropriate.
  14                      Defendant's Malice And Oppression of the Disabled
                                Supplementing Counts Two and Three
  15
                                      (Civ. Code Article 3, §3294)
  16
       89. Plaintiff realleges all allegations elsewhere in this Complaint.
  17
       90. By its continuing and unrelenting discrimination against the disabled, including
  18
          Plaintiff, Defendant is and has been guilty of oppression and malice.
  19
       91. Defendant' malice and oppression of the disabled are intentional, premeditated, and
  20      specifically designed as a marketing strategy.
  21   92. "Malice" includes "despicable conduct which is carried on by the defendant with a
  22      willful and conscious disregard of the rights or safety of others," including Plaintiff.
  23   93. "Oppression" means despicable conduct that subjects a person to cruel and unjust
  24      hardship in conscious disregard of that person's rights.
  25   94. "Despicable conduct" has been described as conduct that is "so vile, base,

  26      contemptible, miserable, wretched or loathsome that it would be looked down upon

  27      and despised by ordinary decent people.'' (Lackner v. North (2006) 135 Cal.App.4th
           1188, 1210.)
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                                                     7
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   1   95. Plaintiff alleges that intentional segregation and discrimination of the type alleged
   2      here, and indeed any segregation and discrimination against any member of a

   3      protective class, is malicious and oppressive as a matter of law.

   4   96. In addition to the actual damages, Plaintiff seeks the following relief:

   5      a. Imposition of damages for the sake of example and by way of punishing
              Defendant in an amount sufficient to deter, make example of, and punish
   6
              Defendant in the form of punitive damages; and
   7
          b. Disgorgement of ill-gotten profits realized through intentional discrimination.
   8
                                  REQUEST FOR TRIAL BY JURY
   9
              Plaintiff requests a trial by a jury on issues triable by a jury.
  10
                                             VERIFICATION
  1I
              Plaintiff verifies under the penalty of pe1jury that the above statements of fact are
  12   true and correct to the best of his knowledge, information, memory, or belief.
  13          RESPECTFULLY SUBMITTED this 13 th day of March 2025 .
  14
  15
                                            Fernando Gastelum
  16                                        Pro Se
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